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                  IN THE UNITED STATES DISTRICT COURT      OCT 12 2 007
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION          JAMES N . HATTEN , C
                                                                     8Y:

KATHY FRIPPS,

     Plaintiff,
                                          CIVIL ACTION FILE
v.
                                          NO.
KCA FINANCIAL SERVICES, INC ., :
an Illinois Corporation,
                                                 -- 0.7 - - 25 4 5
                                                U07
     Defendant.
                                                                                                 ~

                                                                           W          jVf   .Y


                                                                                      ~~ .




                       CO MPLA I NT FOR DAMAGES

                               INTRODUCTION

1.   This is an action for damages against the Defendant for violations of the

     Federal Fair Debt Collection Practices Act, 15 U .S.C. §§ 1692 et .
                                                                       sea




                     SUBJECT MATTER JURISDICT ION

2.   Subject matter jurisdiction in this Court is proper pursuant to 15 U .S.C.

     section 1692k(d) and 28 U .S .C . section 1337 (federal question jurisdiction) .




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3 . This Court has supplemental jurisdiction pursuant to 28 U .S .C. section 1367

      to hear and decide any related State law issues .



                 PARTIES AND PERSONAL JU RIS DICTION

4 . Plaintiff is a resident of this State, District and Division who is authorized

      by law to bring this action .

5 . Defendant, KCA FINANCIAL SERVICES, INC ., is a corporation formed

      under the laws of the state of Ohio . [Hereinafter, said Defendant is referred

      to as "KCA ."]

6 . KCA is subject to the jurisdiction and venue of this Court .

7 . KCA may be served by personal service upon its registered agent in the

      State of Illinois, to wit : Steve M . Gayheart, 1293 Herrington Rd., Geneva,

      Illinois, 60134.

8 . Alternatively, KCA may be served by personal or substitute service

      pursuant to the Federal Rules of Civil Procedure and, as applicable, the laws

      of the states of Georgia or Illinois.




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                        FACTS COMMON TO ALL CAUSES

9 . KCA uses telephone communications in its business .

10 . The principle purpose of KCA business is the collection of debts .

11 . KCA regularly collects or attempts to collect debts owed or due, or asserted

      to be owed or due , another.

12. KCA is a debt collector subject to the provisions of the Fair Debt Collection

      Practices Act .

13 . In the course of attempting to collect a debt allegedly due from Plaintiff to a

      business not a party to this litigation, KCA communicated with Plaintiff in a

      manner which violated the Federal Fair Debt Collection Practices Act .

14 . In or around October, 2007, KCA left a message on Plaintiff's voice

      mailbox explaining that they are " . ..calling about an important business

      matter," and a sked Plaintiff to return their phone call .

15 . In the phone message, the caller did not state the company she worked for .

16 . In the phone message, the caller did not state that the communication was

      from a debt collector.

17 . In the phone message, the caller did not state that the communication was an

      attempt to collect a debt .

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18 . Defendant, by and through its collection agent employees, has left other

      similar messages that also failed to make the necessary disclosures as

      required by law.

19 . Defendant's communications violate the Fair Debt Collection Practices Act .

20 . Plaintiff has complied with all conditions precedent to bring this action .



                               CAUSES OF ACTION

       COUNT ONE: FAIR DEBT COLLECTION PRACTICES ACT

21 . The acts of Defendant constitute violations of the Fair Debt Collection

      Practices Act .

22 . Defendant's violations of the FDCPA include, but are not limited to, the

      following :

23 . The placement of telephone calls without meaningful

             di sclosure of the caller' s identity , in violation of 15 U.S.C. §

             1692d(6);

24 . The use of any false, deceptive, or misleading representations or

             means in connection with the collection of any debt, in violation of 15

             U.S .C . § 1692e ; and

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25. The failure to disclose in subsequent communications that the

             communication is from a debt collector, in violation of 15

             U.S .C . § 1692e(11) .

26. As a result of the defendant's actions, the plaintiff is entitled to an award of

      statutory damages, as well as an award of costs and attorney fees .



      WHEREFORE, PLAINTIFF RESPECTFULLY PRAYS THAT

JUDGMENT BE ENTERED AGAINST DEFENDANT AND IN FAVOR OF

PLAINTIFF, AS FOLLOWS :

      a) That Plaintiff be awarded statutory damages ;

      b) That Plaintiff be awarded the expenses of litigation including a

reasonable attorney fee ;

      c) That the Court declare each and every defense raised by Defendant to

be insufficient; and

      d) That the Court grant such further and additional relief as is just in the

circumstances .

      Respectfully submitted,




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                      THE LAW OFFICES O F JAMES M. FEAGLE, P.C.




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